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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

UNITED STATES OF AMERICA
Plaintiff,

VS. CR. NO. O4~20234-M1

CHAHID ELAIS

Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause came to be heard on June 15, 2005, the United States

Attorney for this district, Stephen Parker, appearing for the Government and
the defendant, Chahid Elias, appearing in person and with counsel, Robert
Irby, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, SEPTEMBER 14, 2005, at
9:00 a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps
McCalla.

Defendant is allowed to remain released on present hond.

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ENTERED this the 29 day of June, 2005.

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JoN PHIP'PS MccALLA
UN TED sTATEs DISTRICT J'uDGE

 

 

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This notice confirms a copy of the document docketed as number 150 in
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Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

l\/lemphis7 TN 38111

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

